Case 19-00730-5-JNC        Doc 360 Filed 08/05/19 Entered 08/05/19 14:14:48                Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 GREENVILLE DIVISION

  CAH ACQUISITION COMPANY #1,                       Case No. 19-00730-5-JNC
  LLC, d/b/a WASHINGTON COUNTY
  HOSPITAL,                                         Chapter 11

                         Debtors.


             NOTICE OF PATIENT CARE OMBUDSMAN’S SECOND REPORT

         PLEASE TAKE NOTICE that on April 17, 2019, April 26, 2019, and subsequently on
 July 1, 2019, Suzanne Koenig was appointed as the Patient Care Ombudsman in the above-
 captioned Chapter 11 cases by the Bankruptcy Administrator, pursuant to an Order of the United
 States Bankruptcy Court for the Eastern District of North Carolina (the “Appointment Order”).

        PLEASE TAKE FURTHER NOTICE that the Patient Care Ombudsman will be filing
 her second written report (the “Report”) with the Court on August 16, 2019 no later than 11:59
 pm (Eastern Time).

          Per the Appointment Order, if you would like a copy of the Report, it will be posted at each
 facility, will be available on the court’s website or you may contact the following person (who will
 provide a copy free of charge):
                                       Carla Greenberg, Paralegal
                                     GREENBERG TRAURIG, LLP
                                   77 West Wacker Drive, Suite 3100
                                            Chicago, IL 60601
                                       Telephone: 312.456.8400
                                        Facsimile: 312.456.8435
                                     Email: greenbergc@gtlaw.com




 ACTIVE 44782023v2
Case 19-00730-5-JNC         Doc 360 Filed 08/05/19 Entered 08/05/19 14:14:48               Page 2 of 4




                       UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

  CAH ACQUISITION COMPANY 1, LLC,                  Case No. 19-00730-5-JNC
  d/b/a WASHINGTON COUNTY
  HOSPITAL,                                        Chapter 11


                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 5, 2019, a true and correct copy of the Notice of Patient
 Care Ombudsman’s Second Report were sent via this Courts ECF notification system to all parties
 who are registered to receive ECF notification in these cases and via United States, postage paid,
 first class mail to the following:

  Marjorie K. Lynch (via ECF)                      Terri L. Gardner (via ECF)
  Brian Behr (via ECF)                             Nelson Mullins Riley &
  Kirstin E. Gardner (via ECF)                     Scarborough, LLP
  434 Fayetteville St.                             4140 Parklake Avenue, Suite 200
  Suite 640                                        Raleigh, NC 27612
  Raleigh, NC 27601                                Counsel for Petitioning Creditors
  Bankruptcy Administrator
  Katherine M. McCraw (via ECF)                    Thomas W. Waldrep, Jr. (via ECF)
  Assistant Attorney General                       Waldrep LLP
  N.C. Department of Justice                       101 S Stratford Road, Suite 210
  Post Office Box 629                              Winston-Salem, NC 27104
  Raleigh, NC 27602-0629                           Trustee
  Counsel for NC DHHS/DHB
  Ryan J. Adams (via ECF)                          Felton E. Parrish (via ECF)
  Adams, Howell, Sizemore & Lenfestey, PA          Hull & Chandler, P.A.
  1600 Glenwood Ave., Suite 101                    1001 Morehead Square Drive, Suite 450
  Raleigh, NC 27608                                Charlotte, NC 28203
  Nicholas Zluticky (via ECF)                      Rayford K. Adams, III (via ECF)
  Stinson Leonard Street LLP                       Spilman Thomas & Battle, PLLC
  1201 Walnut Street, Suite 2900                   110 Oakwood Dr., Suite 500
  Ste 2700                                         Winston-Salem, NC 27103
  Kansas City, MI 64106-2150
  E. Franklin Childress (via ECF)                  M. Ruthie Hagan (via ECF)
  165 Madison Avenue, Suite 2000                   Baker, Donelson, Bearman, Caldwell
  Memphis, TN 38103                                165 Madison Avenue, Suite 2000
                                                   Memphis, TN 38103
  David J Haidt (via ECF)                          Tyler E. Heffron (via ECF)
  Ayers & Haidt, P.A.                              Triplett Woolf Garretson, LLC
  PO Box 1544                                      2959 N. Rock Road, Suite 300
  307 Metcalf Street                               Wichita, KS 67226
  New Bern, NC 28563




                                                                                       NPGBO1:3015535.1
Case 19-00730-5-JNC       Doc 360 Filed 08/05/19 Entered 08/05/19 14:14:48          Page 3 of 4



  Brian H. Smith (via ECF)                      W. Tyler Chastain (via ECF)
  Complete Business Solutions Group, Inc.       Bernstein, Stair & McAdams, LLP
  20 N. 3rd Street                              116 Agnes Road
  Philadelphia, PA 19106                        Knoxville, TN 37919
  Eric L. Johnson (via ECF)                     Stephen W. Petersen (via ECF)
  Matthew A.Petersen (via ECF)                  Jeffrey R. Whitley (via ECF)
  Spencer Fane LLP                              Fox Rothschild, LLP
  1000 Walnut Street, Suite 1400                Post Office Box 27525
  Kansas City, MO 64106                         Raleigh, NC 27611
  Patricia E. Hamilton (via ECF)                Wesley F. Smith (via ECF)
  Stevens & Brand, LLP                          Stevens & Brand, LLP
  917 S.W. Topeka Boulevard                     900 Massuchusetts Street, Suite 500
  Topeka, KS 66612                              Lawrence, KS 66044
  Sharon L. Stolte (via ECF)                    Katherine Montgomery McCraw (via ECF)
  Sandberg Phoenix & von Gontard P.C.           North Carolina Department of Justice
  4600 Madison Avenue, Suite 1000               PO Box 629
  Kansas City, MO 64112                         Courier Number 51-41-22
                                                Raleigh, NC 27602-0629
  John Paul H. Cournoyer (via ECF)              Christopher A. McElgunn (via ECF)
  Northen Blue, LLP                             Klenda Austerman LLC
  PO Box 2208                                   1600 Epic Center
  Chapel Hill, NC 27515-2208                    301 N Main
                                                Wichita, KS 67202-4816
  John M. Sperati (via ECF)                     Jerry P. Spore (via ECF)
  SmithDebnamNarronDrakeSaintsing&Myers         Spragins, Barnett & Cobb, PLC
  4601 Six Forks Road, Suite 400                312 E. Lafayette Street
  Raleigh, NC 27609                             Jackson, TN 38301
  Jonathan O. Steen (via ECF)                   Jason L. Hendren (via ECF)
  Spragins, Barnett & Cobb, PLC                 Rebecca F. Redline (via ECF)
  213 E. Lafayette Street                       Hendren Redwine & Malone, PLLC
  Jackson, TN 38301                             4600 Marriott Drive, Suite 150
                                                Raleigh, NC 27612
  James C. Lanik (via ECF)                      American Red Cross Blood Services
  Jennifer B. Lyday (via ECF)                   PO Box 905890
  Francisco T. Morales (via ECF)                Charlotte, NC 28290
  Waldrep LLP
  101 S. Stratford Road, Suite 210
  Winston-Salem, NC 27104
  CAH Acquisition Company #1, LLC               CAH Acquisition Company #1, LLC
  c/o Corporation Service Company,              c/o Hospital Management Consulting, LLC
  Registered Agent                              Attn: Lawrence J. Arthur
  2626 Glenwood Avenue, Suite 550               4254 N. Oak Trafficway
  Raleigh, NC 27608                             Kansas City, MO 64116
  James W. Schaffer, President                  Dennis L. Davis, Esq.
  CAH Acquisition Company #1, LLC               Stinson Morrison Hecker LLP
  958 US Highway 64                             1201 Walnut, Suite 2900
  East Plymouth, NC 28962                       Kansas City, MO 64106




                                            2
                                                                                NPGBO1:3015535.1
Case 19-00730-5-JNC        Doc 360 Filed 08/05/19 Entered 08/05/19 14:14:48            Page 4 of 4



  Shane Reed                                     Curtis S. Potter
  Director/Credit A/R Escalation Finance         Washington County
  Medline Industries, Inc.                       County Manager/Attorney
  Three Lakes Drive                              PO Box 1007
  Northfield, IL 60093                           Plymouth, NC 27962
  Robert Venable, M.D.                           Frank Smith, Esq.
  PO Box 1026                                    FMS Lawyer PL
  Plymouth, NC 27962                             9900 Stirling Road, Suite 226
                                                 Cooper City, FL 33024
  Eric L. Johnson                                Baxter Healthcare
  Spencer Fane LLP                               1 Baxter Pkwy, DE3-2E
  1000 Walnut, Suite 1400                        Deerfield, IL 60015-4633
  Kansas City, MO 64106
  Amerisource Bergen                             Beckman Coulter, Inc.
  PO Box 5804                                    Dept. Ch. 10164
  New York, NY 10087                             Palatine, IL 60550
  CPSI                                           Creekridge Capital
  6600 Wall Street                               PO Box 1880
  Mobile, AL 36695                               Minneapolis, MN 55480
  Dominion North Carolina Power                  Phusion Marketing Group
  PO Box 26543                                   5051 NW 13th Avenue, Suite G
  Richmond, VA 23290                             Pompano Beach, FL 33064
  Fisher Healthcare                              iHealthcare, Inc.
  300 Industry Drive                             3901 NW 28th Street - 2nd Floor
  Pittsburgh, PA 15275                           Miami, FL 33142
  Landmark National Bank                         LGMG, LLC
  PO Box 308                                     11063 D S Memorial Drive #483
  Manhattan, KS 66502                            Tulsa, OK 74133
  McKesson Corporation                           McNair Oil Co.
  1950 Stemmons FWY #5010                        PO Box 881
  Dallas, TX 75207                               Plymouth, NC 27962
  Quest Diagnostics                              Ramp Plymouth, PA
  PO Box 740736                                  3 Traveller Lane
  Atlanta, GA 30374                              New Bern, NC 28562
  Town of Plymouth                               Western Healthcare, LLC
  PO Box 806                                     PO Box 203152
  Plymouth, NC 27962                             Dallas, TX 75320

 /s/ Brian R. Anderson
 Brian R. Anderson
 N.C. Bar No. 37989




                                             3
                                                                                   NPGBO1:3015535.1
